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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

 X CORP.,                                               §
                                                        §
            Plaintiff,                                  §
                                                        §
 v.                                                     §     Civil Action No. 4:23-cv-01175-O
                                                        §
 MEDIA MATTERS FOR AMERICA                              §
 and ERIC HANANOKI,                                     §
                                                        §
            Defendants.                                 §


                                         SCHEDULING ORDER

I.        SUMMARY OF CRITICAL DATES

     Deadline for Motions for Leave to Join                 March 20, 2024
     Parties or Amend Pleadings (¶ 2)
     Initial Expert Designation & Report (¶ 4 a.)           June 24, 2024
     Responsive Expert Designation & Report                 July 22, 2024
     (¶ 4 b.)
     Rebuttal Expert Designation (¶ 4 c.)                   30 days after disclosure made by other party
     Expert Objections (¶ 4 d.)                             October 14, 2024
     Dispositive Motions (¶ 3)                              August 5, 2024
     Mediation (¶ 5)                                        July 10, 2024
     Completion of Discovery (¶ 6)                          July 29, 2024
     Pretrial Disclosures and Objections (¶ 7)              November 27, 2024
                                                            Objections due 14 days thereafter
     Pretrial Materials (pretrial order, etc.) (¶ 8)        December 12, 2024
     Exchange of Exhibits (¶ 9)                             December 23, 2024
     Pretrial Conference (¶ 11)                             To be set if necessary.
     Trial Date (¶ 1)                                       January 6, 2025




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II.      SCHEDULING INSTRUCTIONS

         Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and the local rules of this

Court (except as modified herein), the Court, having considered the status report submitted by the

parties, finds that the following schedule should govern the disposition of this case:

         Unless otherwise ordered or specified herein, all limitations and requirements of the

Federal Rules of Civil Procedure and the local rules of this Court must be observed.

         Please note that the Court has attempted to adhere to the schedule requested by the

parties. In so doing, the Court assumes that the parties thoroughly discussed scheduling

issues prior to submitting their status report and that the parties understand that the

deadlines imposed in this Order are firmly in place, absent the few exceptions set forth below.

         1.     Trial Date: This case is set for trial on this Court’s four-week docket beginning

                January 6, 2025. Counsel and the parties shall be ready for trial on two days’

                notice at any time during this four-week period.

         2.     Joinder of Parties or Amendment of Pleadings: By March 20, 2024, all motions

                requesting joinder of additional parties or amendments of pleadings shall be filed.

         3.     Dispositive Motions: By August 5, 2024, all motions that would dispose of all or

                any part of this case (including motions for summary judgment) shall be filed.

         4.     Experts:

                a. Initial Designation of Expert(s): Unless otherwise stipulated or directed by
                order, the party with the burden of proof on the issue subject to the expert
                designation shall file a written designation of the name and address of each expert
                witness who will testify at trial for that party and shall otherwise comply with Rule
                26(a)(2) of the Federal Rules of Civil Procedure on or before June 24, 2024.
                (Unless otherwise noted, all references to Rules in this Order shall refer to the
                Federal Rules of Civil Procedure.)

                b. Responsive Designation of Expert(s): Each party without the burden of proof
                on the issue subject to expert designation shall file a written designation of the name

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         and address of each expert witness who will testify at trial for that party and shall
         otherwise comply with Rule 26(a)(2) on or before July 22, 2024.

         c. Rebuttal Expert(s): If the evidence is intended solely to contradict or rebut
         evidence on the same subject matter identified by another party under Rule
         26(a)(2)(B), the disclosures required under Rule 26(a)(2) shall be made within 30
         days after the disclosure made by the other party.

         d. Challenges to Experts: The parties are directed to file any objections to, or
         motions to strike or exclude expert testimony (including Daubert motions), no later
         than October 14, 2024. No challenges to experts shall be filed prior to August 5,
         2024 without obtaining leave of court.

   5.    Mediation:

         a. Mediation Requirements: The parties shall jointly select a mediator and
         mediate on or before July 10, 2024. Individual parties and their counsel shall
         participate in person, not by telephone or other remote means. All other parties
         shall participate by a representative or representatives, in addition to counsel, who
         shall have unlimited settlement authority and who shall participate in person,
         not by telephone or other remote means. If a party has liability insurance coverage
         as to any claim made against that party in this case, a representative of each
         insurance company providing such coverage, who shall have full authority to offer
         policy limits in settlement, shall be present at, and participate in, the meeting in
         person, not by telephone or other remote means. At this meeting, the parties shall
         comply with the requirements of Local Rule 16.3.

         b. Exceptions to Mediation Requirements: If any party is unable to satisfy the
         Mediation Requirements in full, they may submit a motion to the Court requesting
         leave to be excused from the objectionable requirement(s) and showing good cause
         as to why they should be excused. This motion must be submitted as soon as the
         issue presents itself, and no later than three weeks before the mediation deadline
         or the mediation itself, whichever occurs sooner. If the Court does not rule on
         the motion prior to the mediation conference, the parties must proceed as if the
         request is denied.

         c. Mediation Report: Within seven days after the mediation, the parties shall
         jointly prepare and file a written report, which shall be signed by counsel for
         each party, detailing the date on which the mediation was held, the persons present
         (including the capacity of any representative), and a statement informing the Court
         of the effect of their mediation and whether this case has been settled by agreement
         of the parties.

   6.    Completion of Discovery: By July 29, 2024, all discovery—including discovery

         concerning expert witnesses—shall be completed. The parties may agree to extend

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                this discovery deadline, provided (a) the extension does not affect the trial setting,

                dispositive motions deadline, challenges to experts deadline, or pretrial submission

                dates; and (b) written notice of the extension is given to the Court.

        7.      Pretrial Disclosures and Objections: Unless otherwise directed by order, the

                parties must make the disclosures required by Rule 26(a)(3)(A)-(B) by November

                27, 2024. With respect to the identification of witnesses who will be called by

                deposition, the parties must also identify the portions of the deposition transcript

                that they intend to use. (Modification of Rule 26(a)(3)(A)(ii)). Within 14 days

                thereafter, a party must serve and file a list disclosing any objections, together

                with the grounds therefor, to: (a) the use under Rule 32(a) of a deposition designated

                by another party under Rule 26(a)(3)(A)(ii); (b) the admissibility of materials

                identified under Rule 26(a)(3)(A)(iii); and (c) the use of any witnesses (except for

                expert objections) identified under Rule 26(a)(3)(A)(i)1, if any. Objections not so

                disclosed, other than objections under Rules 402 and 403 of the Federal Rules of

                Evidence, are waived unless excused by the Court for good cause.

        8.      Pretrial Materials: By December 12, 2024 except as otherwise noted below, all

                pretrial materials shall be filed. Specifically, by this date:

                a. Pretrial Order: A joint pretrial order shall be submitted by the Plaintiff's
                attorney which covers each of the matters listed in Local Rule 16.4 and which states
                the estimated length of trial. If an attorney for either party does not participate in
                the preparation of the joint pretrial order, the opposing attorney shall submit a
                separate pretrial order with an explanation of why a joint order was not submitted
                (so that the Court can impose sanctions, if appropriate). Each party may present its
                version of any disputed matter in the joint pretrial order; therefore, failure to agree
                upon content or language is not an excuse for submitting separate pretrial
                orders. (Modification of Local Rule 16.4). When the joint pretrial order is

        1
          Requiring parties to file objections to witnesses disclosed under Rule 26(a)(3)(A)(i) is a
modification of the requirements of Rule 26(a)(3)(B), which only requires that the parties file objections to
deposition designations (Rule 26(a)(3)(A)(ii)) and exhibits (Rule 26(a)(3)(A)(iii)).

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                approved by the Court, it will control all subsequent proceedings in this case. If
                submitted on paper, the parties must submit the original and one copy of the
                proposed pretrial order (styled as the “Pretrial Order”) directly to the Court’s
                chambers. Do not file it with the clerk. The Court will direct the clerk to file it
                after the Court signs it. The proposed pretrial order must be transmitted to the
                electronic    address      used     for     receipt    of    proposed       orders
                (o’connor_orders@txnd.uscourts.gov) no later than December 16, 2024.

                b. Witness List: A list of witnesses shall be filed by each party, which divides
                the persons listed into groups of “probable witnesses,” “possible witnesses,”
                “experts,” and “record custodians” and which provides:

                        (i) the name and address of each witness;

                        (ii) a brief narrative summary of the testimony to be covered by each

                        witness;

                        (iii) whether the witness has been deposed; and

                        (iv) the expected duration of direct or cross-examination of the witness.2

                        The Witness list will include three columns. The first column will contain
                        a brief statement of the subject matter to be covered by a particular witness.
                        The second column will bear the heading “Sworn” and the third column will
                        bear the heading “Testified” so that the Court can keep track of the
                        witnesses at trial.

                        If any witness needs an interpreter, please note this on the witness list. It is
                        the obligation of the party offering such a witness to arrange for an
                        interpreter to be present at trial.

                        (Modification of Local Rule 26.2(b))


                c. Exhibit List and Deposition Testimony Designations: A list of exhibits
                (including demonstrative exhibits) and a designation of portions of depositions
                to be offered at trial shall be filed by each party. The list of exhibits shall describe
                with specificity the documents or things in numbered sequence. The documents or
                things to be offered as exhibits shall be numbered by attachment of gummed labels

        2
          Pursuant to Rule 16(c)(2)(O) and Section VII of the United States District Court for the Northern
District of Texas Civil Justice Expense and Delay Reduction Plan, the Court may impose a reasonable limit
on the time allowed for presenting evidence in this case. See Commentary - 1993 Amendment to the
Federal Rules of Civil Procedure (court should ordinarily impose time limits only after receiving
appropriate submissions from the parties).

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                to correspond with the sequence on the exhibit list and identify the party submitting
                the exhibit. (Modification of Local Rule 26.2(b), (c)). Do not use letter suffixes to
                identify exhibits (e.g., designate them as 1, 2, 3, not as 1A, 1B, 1C). The Exhibit
                list will include two columns, one bearing the heading “Offered” and the other
                bearing the heading “Admitted.”

                Each party’s exhibit list shall be accompanied by a written statement, signed by
                counsel for each party and state that, as to each exhibit shown on the list,

                         (i) the parties agree to the admissibility of the exhibit; or

                         (ii) the admissibility of the exhibit is objected to, identifying the nature and
                         legal basis of any objection to admissibility and the name(s) of the party or
                         parties urging the objection.

                All parties shall cooperate in causing such statements to be prepared in a timely
                manner for filing with the exhibit lists. Counsel for the party proposing to offer an
                exhibit shall be responsible for coordinating activities related to preparation of such
                a statement as to the exhibit the party proposes to offer. This includes an obligation
                to make exhibits available for inspection in advance of the deadline for filing
                exhibit lists where a party needs to see exhibits to assess admissibility. The Court
                may exclude any exhibit offered at trial unless such a statement regarding the
                exhibit has been filed in a timely manner. In addition, objections not identified in
                the statement may be waived.

                A list of each party’s exhibits to which no objection will be lodged (preadmitted)
                must be submitted at the pretrial conference.3 The Court expects the parties to
                confer and agree to admit the majority of their exhibits prior to trial.

                d. Jury Charge: Requested jury instructions and questions (annotated)4 shall
                be filed as set forth below. In order to minimize time after commencement of the
                trial in resolving differences in the language to be included in the Court’s charge to
                the jury:

                         (i)     Counsel for the Plaintiff shall deliver to counsel for Defendant by
                                 December 2, 2024 a copy of its proposed Court’s charge to the jury.




        3
           This does not change the sequential manner in which each side should number its exhibits. In
other words, a party should not separately number its exhibits into “objected to” and “unobjected to”
categories.
         4
           “Annotated” means that each proposed instruction shall be accompanied by citation to statutory
or case authority and/or pattern instructions. It is not sufficient to submit a proposed instruction without
citation to supporting authority.

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                (ii)    Counsel for Defendant shall deliver to counsel for the Plaintiff by
                        December 4, 2024 (A) a statement, prepared with specificity, of
                        any objection his client had to any part of the proposed charge that
                        counsel for Plaintiff has delivered pursuant to this paragraph and (B)
                        the text of all additional instructions or questions his client wishes
                        to have included in the Court’s charge to the jury. Each objection
                        and each such request shall be accompanied by citations of
                        authorities supporting defendant’s objection or request.

                (iii)   At 10:00 a.m. on December 6, 2024, the lead attorneys for the
                        parties to this action shall meet face-to-face at either (A) a mutually
                        agreeable place, or (B) at the office of counsel for the Plaintiff
                        located in Ft. Worth, Texas or within 50 miles of the Ft. Worth
                        Division of the Northern District of Texas, for the purposes of (1)
                        discussing, and trying to resolve, differences between the parties as
                        to language to be included in the Court’s charge to the jury and (2)
                        identifying areas of disagreement that cannot be resolved. Such
                        meeting shall be held for a sufficient length of time for there to be a
                        meaningful discussion of all areas of disagreement and a meaningful
                        attempt to accomplish agreement. Each attorney shall cooperate
                        fully in all matters related to such a meeting.

                (iv)    By 2:00 p.m. on December 9, 2024 counsel for Plaintiff shall file a
                        document titled “Agreed Charge” which in a single document shall
                        contain, in logical sequence, all language to be included in the
                        charge, including jury instructions and jury questions, about which
                        the parties do not have disagreement and all language either party
                        wishes to have included in the charge about which there is
                        disagreement. All language of the proposed charge about which
                        there is disagreement shall be (A) in bold face, (B) preceded by an
                        indication of the identity of the party requesting the language, and
                        (C) followed by a listing of citations of authorities in favor of and in
                        opposition to the proposed language. Objections may be waived if
                        not stated in the Agreed Charge.


         Plaintiff must also send, in a WordPerfect-compatible format, the Agreed Charge
         to: o’connor_orders@txnd.uscourts.gov and include the case number and the
         document number of the referenced motion in the subject line.

         e. Limited Number of Motions in Limine: Motions in limine should not be filed
         as a matter of course. If filed, counsel must file them with the Court and serve them
         on the opposing party by December 9, 2024. Responses must be filed with the
         Court and served on the opposing party by December 23, 2024. Replies to
         responses are not permitted except by leave of Court. Parties may file motions in
         limine on no more than TEN discrete topics (no subparts) that are actually in

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         dispute. (good faith compliance with the conference requirements of Local Rule 7.1
         will help to narrow issues that are actually in dispute). Motions in limine that
         contain boilerplate requests, that exceed ten topics or that cover undisputed issues
         will be stricken.

         f. Voir Dire: The parties shall file any proposed voir dire questions which the
         Court is requested to ask during its examination of the jury panel by December 16,
         2024.

         g. Trial Briefs: Trial briefs may be filed by each party. In the absence of a specific
         order of the Court, trial briefs are not required, but are welcomed. The briefing
         should utilize Fifth Circuit and/or Supreme Court authority or relevant state
         authority to address the issues the parties anticipate will arise at trial.

         h. Witness and Exhibit Lists: The parties must deliver to the court reporter
         separate lists of witnesses and exhibits, as well as a glossary of all terms likely to
         be uttered on the record during the trial that are technical, scientific, medical, or
         otherwise uncommon, no later than 12:00 noon on the Thursday prior to trial.

         NOTE: Deadlines in this order regarding pretrial materials are dates for filing or
         delivery, not mailing dates.

   9.    Exchange of Exhibits: No later than December 23, 2024, counsel for each party

         intending to offer exhibits shall exchange a complete set of marked exhibits

         (including demonstrative exhibits) with opposing counsel and shall deliver a set

         of marked exhibits to the Court’s chambers (except for large or voluminous

         items that cannot be easily reproduced).


   10.    Settlement Conference and Status Report:
         a. Settlement Conference: No later than December 23, 2024, the parties and their
         respective lead counsel shall hold a face-to-face meeting to discuss settlement of
         this case. Individual parties and their counsel shall participate in person, not by
         telephone or other remote means. All other parties shall participate by a
         representative or representatives, in addition to counsel, who shall have unlimited
         settlement authority and who shall participate in person, not by telephone or other
         remote means. If a party has liability insurance coverage as to any claim made
         against that party in this case, a representative of each insurance company providing
         such coverage, who shall have full authority to offer policy limits in settlement,
         shall be present at, and participate in, the meeting in person, not by telephone or
         other remote means. At this meeting, the parties shall comply with the requirements
         of Local Rule 16.3.

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         b. Joint Settlement Report: Within seven days after the settlement conference,
         the parties shall jointly prepare and file a written report, which shall be signed
         by counsel for each party, detailing the date on which the meeting was held, the
         persons present (including the capacity of any representative), a statement
         regarding whether meaningful progress toward settlement was made, and a
         statement regarding the prospects of settlement.

   11.   Pretrial Conference: A pretrial conference will be conducted, in person, if the

         Court determines such a conference is necessary. If the Court anticipates imposing

         time limits on the presentation of evidence that significantly reduces the parties’

         estimated trial length, the Court will schedule a pretrial conference and advise of

         such deadlines so that counsel will have reasonable notice of such limits. Lead

         counsel for each party must attend, or, if the party is proceeding pro se, the party

         must attend. Fed. R. Civ. P. 16 (c)(1) & (e). Lead counsel and pro se parties must

         have the authority to enter into stipulations and admissions that would facilitate the

         admission of evidence and reduce the time and expense of trial. Id. All pretrial

         motions not previously decided will be resolved at that time, and procedures for

         trial will be discussed. At the final pretrial conference, it should be possible to

         assign the specific date for trial during the four-week docket. Telephone calls

         about the probable trial date prior to the final pretrial conference will not

         likely be beneficial to counsel or the Court staff.

   12.   Modification of Scheduling Order: As addressed above, this Order shall control

         the disposition of this case unless it is modified by the Court upon a showing of

         good cause and by leave of court. Fed. R. Civ. P. 16(b)(4). Conclusory statements

         will usually not suffice to show good cause, even if the motion is agreed or

         unopposed. Moreover, the Court does not grant motions to modify the scheduling



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         order as a matter of course. Any request that the trial date of this case be modified

         must be made (a) in writing to the Court, (b) before the deadline for completion

         of discovery, and (c) in accordance with the United States District Court for the

         Northern District of Texas Civil Justice Expense and Delay Reduction Plan ¶

         V and Local Rule 40.1 (motions for continuance must be signed by the party as

         well as by the attorney of record).

   13.    Sanctions: Should any party or counsel fail to cooperate in doing anything

         required by this Order, such party or counsel or both may be subject to sanctions.

         If the plaintiff does not timely file the required (or other) pretrial material, the case

         will be dismissed. If the defendant/third party does not timely file the required (or

         other) pretrial material, a default will be entered or the defendant/third party will

         not be permitted to present witnesses or exhibits at trial. Fines or other sanctions,

         if appropriate, may also be imposed under Rule 16(f). Failure to list a witness,

         exhibit, or deposition excerpt as required by this Order shall be grounds for

         exclusion of that evidence. This does not apply to testimony, exhibits, or deposition

         excerpts offered for impeachment; further, the use of unlisted witnesses, exhibits,

         or deposition excerpts for rebuttal shall be permitted if the attorneys could not have

         reasonably anticipated their need for that evidence.

   14.    Electronic Filing Procedures: This case has been designated for enrollment in

         the Electronic Case Filing System (CM/ECF). (For more information on the ECF

         system, please see http://www.txnd.uscourts.gov/filing/ecf.html). Now that the

         case is designated an ECF case, all documents must be filed electronically;

         however, the Court still requires that courtesy copies of dispositive motions (and



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         accompanying briefs and appendices) be sent to Chambers. Proposed orders are

         required to be submitted with EVERY motion. (Modification to Local Rule

         7.1(c)). Proposed orders must be submitted via e-mail in a Word or WordPerfect-

         compatible format as instructed in the CM/ECF system’s “Proposed Orders” Event.

         The proposed orders must be e-mailed to: o’connor_orders@txnd.uscourts.gov.

         Include the case number and the document number of the referenced motion in the

         subject line.

   15.    Citations: All briefs filed with the Court shall comply with the most recent edition

         of The Bluebook: A Uniform System of Citation. Particularly, counsel are directed

         to provide, where applicable, the subsections of cited statutes, and to provide

         pinpoint citations when citing cases, i.e., provide the page where the stated legal

         proposition can be found. See Bluebook Rules 3.2-3.4 (Columbia Law Review

         Ass’n et al. eds, 20th ed. 2015) (regarding pinpoint citations and subsections).

         Furthermore, if a brief contains citations to unpublished opinions or to LEXIS,

         counsel must attach copies of those cases to the brief.

   16.    Notice: Each attorney of record and any unrepresented party must review and

         adhere to the Local Civil Rules of the Northern District of Texas, which may be

         accessed        at     http://www.txnd.uscourts.gov/rules/localrules/lr_civil.html.

         Additionally, each attorney of record and any unrepresented party must review and

         abide by the standards of litigation conduct for attorneys appearing in civil actions

         in the Northern District of Texas, as outlined in Dondi Properties Corp. v.

         Commerce Savings & Loan, 121 F.R.D. 284 (N.D. Tex. 1988) (en banc), which

         may be accessed at http://www.txnd.uscourts.gov/publications/index.html.



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   17.    Inquiries: Questions relating to this scheduling order or legal matters should be

         presented in a motion, as appropriate. Questions regarding electronic notice or

         electronic case files shall be directed to the Help Desk at 1-866-243-2866. If any

         electronic equipment is needed in the courtroom, notify Brian Rebecek, Fort Worth

         Division Manager, at 817-850-6613.

   SO ORDERED on this 22nd day of January, 2024.


                                             _____________________________________
                                             Reed O’Connor
                                             UNITED STATES DISTRICT JUDGE




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